                 Case 2:11-cr-00048-JCM-CWH                       Document 302                  Filed 11/14/12        Page 1 of 8
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                               District
                                            District
                                    __________          of __________
                                                     of Nevada
                                                          AMENDED
                                                     )
             UNITED STATES OF AMERICA                )     JUDGMENT IN A CRIMINAL CASE
                        v.                           )
                  NANCY MAGENO                       )
                                                     )     Case Number: 2:11-CR-48-JCM-CWH-7
                                                     )     USM Number: 45716-048
                                                     )
                                                     )     MACE YAMPOLSKY, CJA
                                                                                      Defendant’s Attorney
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
✔was found guilty on count(s)
G                                        1 of the Indictment
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended             Count
21USC§§841(a)(1)                 Conspiracy to Distribute More than 50 Grams of Methamphetamine               7/2009                     1
& 841(b)(1)(A)(viii)




       The defendant is sentenced as provided in pages 2 through                 73          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G
x The defendant has been found not guilty on count(s)             Count 6

G
X Count(s)      All Remaining Counts                     G is     G
                                                                  X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            8/28/2012
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                            JAMES C. MAHAN,                              U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge

                                                                            November 14, 2012
                                                                          Date
               Case 2:11-cr-00048-JCM-CWH
            AMENDED                                               Document 302            Filed 11/14/12         Page 2 of 8
AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 — Imprisonment

                                                                                                       Judgment — Page   22       of   73
DEFENDANT: NANCY MAGENO
CASE NUMBER: 2:11-CR-48-JCM-CWH-7


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 EIGHT-SEVEN (87) MONTHS




    ✔
    G The court makes the following recommendations to the Bureau of Prisons:
 AS CLOSE TO LAS VEGAS, NEVADA, AS POSSIBLE




    G The defendant is remanded to the custody of the United States Marshal.

    ✔
    G The defendant shall surrender to the United States Marshal for this district:
      ✔
      G Immediately
          at             following sentencing             ✔ p.m. on 8/28/2012
                                            G a.m.on 8/28/2012.
                                                         G                                                                    .

          G as notified by the United States Marshal.

    G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 2 p.m. on                                              .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                    , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                Case 2:11-cr-00048-JCM-CWH
             AMENDED                                                   Document 302                Filed 11/14/12             Page 3 of 8
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                                    Judgment—Page        3      of         37
DEFENDANT: NANCY MAGENO
CASE NUMBER: 2:11-CR-48-JCM-CWH-7
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
FIVE (5) YEARS
1. You shall not commit another Federal, State or local crime during the term of supervision;
2.        Thenot
   You shall    defendant
                   possess must report   to the probation     office  in the district to which the  defendant isforreleased within
                                                                                                                                 of 72   hours of release from the
custody   of the Bureau  ofillegal
                             Prisons.controlled   substances.     Revocation   of supervision    is mandatory        possession      illegal
controlled substances;
The defendant shall not commit another federal, state or local crime.
3. The defendant shall refrain from any unlawful use of a controlled substance and shall submit to one drug test within 15 days
The
of thedefendant  shall notofunlawfully
       commencement          supervision possess     aleast
                                                        controlled  substance.   The   defendant shall   refrain from
                                                                                                                    104any  unlawful    use of a controlled
substance.    The defendant   shall submitand  to at
                                                  one       two
                                                         drug testperiodic drug
                                                                   within 15     tests
                                                                              days   of thereafter, notimprisonment
                                                                                         release from   to exceed        drug
                                                                                                                        and at tests
                                                                                                                               least annually.
                                                                                                                                      two periodic drug tests
thereafter, asisdetermined
Revocation       mandatory byfor the      to, not
                                      court.
                                  refusal          to exceed 104 test annually. Revocation is mandatory for refusal.
                                              comply;
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

G The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G
       defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
G The
  as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
          AMENDED
            Case 2:11-cr-00048-JCM-CWH                  Document 302          Filed 11/14/12        Page 4 of 8
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C — Supervised Release
                                                                                            Judgment—Page    4     of      73
DEFENDANT: NANCY MAGENO
CASE NUMBER: 2:11-CR-48-JCM-CWH-7

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
 device, or other dangerous weapons, as defined by federal, state, or local law.

 2. Warrantless Search - You shall submit your person, property, residence, place of business and vehicle under your
 control to a search, conducted by the United States probation officer or any authorized person under the immediate and
 personal supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable
 suspicion of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be
 grounds for revocation; the defendant shall inform any other residents that the premises may be subject to a search
 pursuant to this condition.

 3. Mental Health Treatment - You shall participate in and successfully complete a mental health treatment program, which
 may include testing, evaluation, and/or outpatient counseling, as approved and directed by the probation office. You shall
 refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants while participating in mental health
 treatment. Further, you shall be required to contribute to the costs of services for such treatment, as approved and directed
 by the probation office based upon your ability to pay.
           AMENDED
              Case 2:11-cr-00048-JCM-CWH                          Document 302             Filed 11/14/12        Page 5 of 8
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page       5    of        73
DEFENDANT: NANCY MAGENO
CASE NUMBER: 2:11-CR-48-JCM-CWH-7
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                          Fine                             Restitution
TOTALS            $ 100.00                                            $                                $


G The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                              Total Loss*       Restitution Ordered Priority or Percentage




TOTALS                              $                          0.00          $                    0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the             G fine      G restitution.
     G the interest requirement for the              G fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
               AMENDED
                  Case 2:11-cr-00048-JCM-CWH                            Document 302               Filed 11/14/12            Page 6 of 8
   AO 245B     (Rev. 09/11) Judgment in a Criminal Case
               Sheet 6 — Schedule of Payments

                                                                                                                   Judgment — Page       6      of          73
    DEFENDANT: NANCY MAGENO
    CASE NUMBER: 2:11-CR-48-JCM-CWH-7

                                                           SCHEDULE OF PAYMENTS

    Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

    A    ✔ Lump sum payment of $
         G                                     100.00               due immediately, balance due

              G      not later than                                      , or
              G      in accordance           G C,         G D,     G       E, or     G F below; or
    B    G Payment to begin immediately (may be combined with                      G C,       G D, or      G F below); or
    C    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                               (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

    D    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                               (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

    E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

    F    G Special instructions regarding the payment of criminal monetary penalties:




    Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
    imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
    Responsibility Program, are made to the clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



    G Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.




    G The defendant shall pay the cost of prosecution.
    G The defendant shall pay the following court cost(s):

* XG The defendant shall forfeit the defendant’s interest in the following property to the United States:
              "FINAL ORDER OF FORFEITURE ATTACHED"



    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
        Case
         Case2:11-cr-00048-JCM-CWH
              2:11-cr-00048-JCM -CWH Document
                                     Document302
                                              300                  Filed
                                                                   Filed 11/14/12  Page17ofof18
                                                                         11/09/12 Page



 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                         )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10           v.                                        )          2:11-CR-048-JCM-(CWH)
                                                       )
11   NANCY MAGENO,                                     )
                                                       )
12                         Defendant.                  )

13                                      ORDER OF FORFEITURE

14          This Court found on June 6, 2012, that NANCY MAGENO shall pay a criminal forfeiture

15   money judgment of $44,400.00 in United States Currency, pursuant to Fed. R. Crim. P. 32.2(b)(1)

16   and (2); and Title 21, United States Code, Section 853(a)(1) and (p). Order of Forfeiture, ECF No.

17   240.

18          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

19   States recover from NANCY MAGENO a criminal forfeiture money judgment in the amount of

20   $44,400.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); and Title

21   21, United States Code, Section 853(a)(1) and (p).

22                November
            DATED this ______ 9,
                              day2012.
                                  of __________________, 2012.

23

24
                                                UNITED STATES DISTRICT JUDGE
25

26
           AMENDED
              Case 2:11-cr-00048-JCM-CWH                        Document 302         Filed 11/14/12           Page 8 of 8
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 7 — Denial of Federal Benefits

                                                                                                   Judgment — Page     7     of      73
DEFENDANT: NANCY MAGENO
CASE NUMBER: 2:11-CR-48-JCM-CWH-7
                                                  DENIAL OF FEDERAL BENEFITS
                                             (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

          IT IS ORDERED that the defendant shall be:

✔ ineligible for all federal benefits for a period of
G                                                            FIVE (5) YEARS                 .

G ineligible for the following federal benefits for a period of                                           .
     (specify benefit(s))




                                                                     OR
G Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

G be ineligible for all federal benefits for a period of                                    .

G be ineligible for the following federal benefits for a period of                                        .

     (specify benefit(s))




     G     successfully complete a drug testing and treatment program.

     G     perform community service, as specified in the probation and supervised release portion of this judgment.

           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
           judgment as a requirement for the reinstatement of eligibility for federal benefits.



                  Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security,
health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are
required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                               U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
